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             7                         UNITED STATES DISTRICT COURT
             8                       CENTRAL DISTRICT OF CALIFORNIA
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            11   WRTS, LLC, a California limited           Case No. 14-CV-03888-CBM (ASx)
                 liability company; WE ROCK THE
            12   SPECTRUM KID’S GYM, LLC, a                Judge: Honorable Consuelo B. Marshall
                 California limited liability company,
            13
                             Plaintiffs.                   ORDER RE DISMISSAL[66]
            14         vs.
            15   CAROL WOLFE, an individual;
                 ALEXANDRA WOLFE, an individual;
            16   BRUCE WOLFE, an individual; and
                 DOES 1-10, Inclusive,
            17
                             Defendants.
            18
                 KIDZONE, LLC, formerly WE ROCK
            19   THE SPECTRUM WEST HILLS, LLC,
                 a California limited liability company;
            20   CAROL WOLFE, an individual;
                 ALEXANDRA WOLFE, an individual;
            21   BRUCE WOLFE, an individual,
            22               Counterclaimants,
                       vs.
            23
                 WRTS, LLC, a California limited
            24   liability company, WE ROCK THE
                 SPECTRUM KID’S GYM, LLC, a
            25   California limited liability company;
                 DINA KIMMEL, an individual; and
            26   ROES 1-10, Inclusive,
            27               Counter-Defendants.
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                                                  ORDER RE DISMISSAL
  1167751/3708.008
ORDER RE DISMISSAL
          Case 2:14-cv-03888-CBM-AS Document 67 Filed 05/04/15 Page 2 of 2 Page ID #:1555


             1                                           ORDER
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                       FOR GOOD CAUSE APPEARING, THE FOLLOWING IS HEREBY
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                 ORDERED:
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                       The Parties’ Stipulation and Request for Dismissal filed May 1, 2015 is
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                 GRANTED. All claims and counterclaims herein are hereby dismissed with
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                 prejudice, with this Court to retain jurisdiction as needed to enforce the terms of the
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                 confidential settlement agreement entered into by the Parties.
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             9         IT IS SO ORDERED.
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            11   Dated: May 4, 2015                       By:
            12
                                                                HON. CONSUELO B. MARSHALL
                                                                U.S. DISTRICT JUDGE
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                                                   ORDER RE DISMISSAL
  1167751/3708.008
ORDER RE DISMISSAL
